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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA


 STRIKE 3 HOLDINGS, LLC,                         Civil Case No. 0:18-cv-00773-JRT-DTS

        Plaintiff,

 v.

 JOHN DOE subscriber assigned IP address
 24.7.203.5,

        Defendant.


 [PROPOSED] ORDER ON PLAINTIFF’S FOURTH EX-PARTE APPLICATION FOR
      EXTENSION OF TIME WITHIN WHICH TO EFFECTUATE SERVICE
                     ON JOHN DOE DEFENDANT
       THIS CAUSE came before the Court upon Plaintiff’s fourth ex-parte application for

entry of an Order extending the time within which to effectuate service on John Doe Defendant

with a summons and Complaint, and the Court being duly advised in the premises does hereby:

       ORDER AND ADJUDGE: Plaintiff’s application is granted. Plaintiff shall have until

February 15, 2019 to effectuate service of a summons and Complaint on Defendant.

       SO ORDERED this ______ day of _______________________, 2018.



                                           By:_______________________________
                                           The Honorable David T. Schultz
                                           United States Magistrate Judge
